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                    EXHIBIT B
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                         The Electoral Effects of Ballot Design


                                An Executive Summary




                                       Prepared by:


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                                            Credentials

 I am an Associate Professor at the University of Delaware, jointly appointed in the departments
 of Political Science & International Relations and of Psychological & Brain Sciences. Before
 moving to the University of Delaware in 2019 I was an Associate Professor of Political Science
 at the University of Minnesota, and I retained courtesy appointments in the department of
 Psychology and the Hubbard School of Journalism and Mass Communication. I have taught
 undergraduate courses in quantitative methods, public opinion, political psychology, and media
 and politics, and graduate (PhD level) courses in survey questionnaire design, survey sampling
 methods, and political psychology. My positions at the Universities of Minnesota and Delaware
 have also involved mentoring and advising graduate student PhD dissertation projects. I received
 my PhD in Social Psychology from the Ohio State University in 2000, where I received
 extensive training in quantitative research methods and research design. I have authored or
 coauthored articles that have appeared in peer-reviewed academic journals such as Public
 Opinion Quarterly, American Journal of Political Science, Journal of Politics, and Political
 Psychology. I have received multiple awards from the American Political Science Association
 for my work. My research has been funded by the National Science Foundation and the Pew
 Charitable Trusts, and I have served on the editorial boards of top journals in the discipline. I
 have authored or coauthored 80 research presentations at professional conferences, have given
 over 40 invited talks at colleges, universities, and to community organizations, and I was the
 keynote speaker for an EU-funded international academic conference. I am widely recognized—
 both nationally and internationally—as an expert in political psychology. My work has received
 significant coverage in national and international news outlets, and my candidate name order
 research has been cited in multiple court cases. I was elected to begin a 3-year term as Vice
 President for Publications of the International Society of Political Psychology in July 2020. My
 full curriculum vitae is appended to this report.

                                             Overview

 I have been retained to provide a report for litigation contesting the validity of New Jersey
 primary ballot design laws. In the pages that follow, I provide an Executive Summary of the
 social science research on the effects of candidate name order and other ballot design choices on
 election outcomes. I first review the empirical literature on name order effects. I conclude that:

    1. Candidate name order effects have been extensively studied, in both general and primary
       elections. The empirical evidence overwhelmingly finds that there is a systematic “first
       position” vote advantage, and that this advantage is due solely to name order. Candidates
       receive more votes when they are listed first on the ballot than when they are listed in
       other positions.

    2. This systematic first position bias can be large enough to affect the outcome of elections
       (especially close ones).

    3. Candidate name order primacy effects on vote choice are at least as large, and in some
       cases larger, in primary elections compared to general elections.



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    4. Primacy effects are stronger when voters have less information about candidates, such as
       in low visibility and non-partisan races.

 Next, I review select literature on the effect of other ballot design choices on election outcomes. I
 conclude that:

    1. Seemingly innocuous ballot design choices can “nudge” voters toward or against
       particular candidates, or can have a systematic effect on undervotes, overvotes,
       “proximity-mistake” votes, and ballot-flaw-induced votes that can disenfranchise a
       substantial number of voters.

    2. Poor ballot design can affect the outcome of elections.

 I then briefly discuss the implications of the scholarly literature on the effects of candidate name
 order and other ballot design features for the New Jersey Democratic primary ballot. I conclude
 that:

    1. Given the consistency of the evidence of primacy effects from different scholars and
       across different states, years, and races, it is extremely likely that primacy effects have
       occurred and will occur in the New Jersey primaries. Candidates in New Jersey primaries
       who are listed first have a distinct advantage owing solely to name order, and candidates
       who never have a chance to be listed in the first position are systematically
       disadvantaged.

    2. Other design features of the New Jersey primary ballot, such as:

            a. the placement of a candidate far away from other candidates in the same race
               (separated by multiple blank columns);
            b. the visual cue of one “full” column of candidates in comparison to sparse
               columns;
            c. the inclusion of superfluous information such as column labels;
            d. the arbitrary grouping of candidates for different races in the same column; and
            e. having a “lone wolf” candidate in his/her own column

        are likely to have the effect of “nudging” voters toward specific candidates, and/or to
        induce other systematic biases (such as undervotes, overvotes, and ballot-flaw-induced
        votes) that disenfranchise voters.

    3. Candidate name order primacy effects in New Jersey primaries are likely exacerbated by
       these other ballot design features of the New Jersey primary ballot.




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                                Effects of Candidate Name Order

 Theory

 In our manuscript published in Public Opinion Quarterly, Stanford Professor Jon Krosnick and I
 (Miller and Krosnick 1998) argue that the order in which candidates’ names appear on a ballot
 will have an impact on their vote percentage (see also, Pasek et al. 2014):

     “One psychological theory of order effects predicts ‘primacy effects’, which are biases
     toward selecting the first object considered in a set. People tend to evaluate objects with
     a confirmatory bias. Specifically, people usually begin a search of memory for
     information about an object by looking for reasons to select answer choices, rather than
     reasons not to select them. So when considering a list of political candidates, voters
     probably search memory primarily for reasons to vote for each contender rather than
     reasons to vote against him or her. And when working through a list, people think less
     and less about each subsequent alternative, because they become increasingly fatigued,
     and short-term memory becomes increasingly clogged with thoughts. Therefore, people
     may be more likely to generate supportive thoughts about candidates listed initially and
     less likely to do so for later-listed candidates, biasing them toward voting for the
     former. This theory is consistent with dozens of experiments that presented objects
     visually and nearly always found bias toward selecting initially-offered options… Name
     order might also influence the votes cast by people who have no information at all about
     the candidates in a race but nonetheless feel compelled to vote in all races in order to be
     ‘good citizens.’ According to Simon’s (1957) notion of satisficing, people are inclined
     to settle for the first acceptable solution to a problem they confront, especially when the
     costs of making a mistake will be minimal. Therefore, if a citizen feels compelled to
     vote in races regarding which he or she has no substantive basis for choice at all, he or
     she may simply settle for the first name listed, because no reason is apparent suggesting
     that the candidate is unacceptable. Thus, there is abundant theoretical justification for
     the hypothesis that the order of candidates’ names on ballots may influence voters’
     choices in some races. If people simply settle for the first listed contender when they
     have no information at all about a race, primacy effects will occur. Primacy effects
     would also be expected in races about which voters do have some information when
     they can generate at least some reasons to vote for each of the candidates. But when
     voters can only retrieve reasons to vote against competitors, recency effects would be
     expected” (pg. 293-295; citations omitted).

 Research Method

 The gold standard method for testing whether the order in which names on a ballot has an effect
 on election outcomes is to assign groups of voters different name orders, and calculate the
 percent of votes each candidate receives when they are listed in each position on the ballot (e.g.,
 the percent of votes candidate A receives when listed first, when listed second, and so forth).
 Statistical tests are then conducted to determine whether any observed differences in those vote
 percentages are due to chance alone. If the null hypothesis (i.e. observed differences are due to



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 chance) can be rejected, then the difference in vote percentages can be attributed to name order
 (Johnson, Reynolds, and Mycoff 2020; Kellstedt and Whitten 2018).

 A number of states in the U.S. assign groups of voters different name orders, and thus serve as
 “real life” laboratories to empirically test the impact of name order on election outcomes. The
 overwhelming conclusion from these studies is consistent with the psychological theory of
 primacy effects reviewed above. In sum, candidates receive more votes when they are listed first
 on the ballot, compared to when they are listed in other positions. These effects have been
 confirmed in general and primary elections, and are robust to various statistical specifications
 (see Beazley 2013 and Miller 2010 for reviews). Research also reveals the conditions under
 which such primacy effects are most likely to occur. In the sections that follow, I describe my
 own research that empirically demonstrates the primacy effect of candidate name order on
 election outcomes, and briefly review the broader literature that examines name order effects in
 the U.S.

 Calculating the Size of Name Order Effects

 The method(s) for calculating the size of name order effects varies depending on how many
 candidates are in the race. For 2-candidate races, the name order effect is simply the percentage
 of votes a candidate received when listed first minus the percentage of votes that same candidate
 received when listed second (i.e., last). Positive numbers indicate a primacy effect, such that the
 candidate listed first is advantaged; negative numbers indicate a recency effect, such that the
 candidate listed second is advantaged. Because the votes in 2-candidate races are reciprocal,
 calculating the effect of name order on the margin of victory is the difference between the
 additional votes gained by the candidate listed first and the additional votes lost by the candidate
 listed second. For example, take a race in Candidate A is always listed first and both candidates
 receive 50% of the vote. If the name order effect in this race was 2% and Candidate B was
 always listed first on the ballot, Candidate B’s vote % would be 52% (50% plus the 2%
 advantage Candidate B receives due to now being listed first). Candidate A’s vote % would be
 48% (50% minus the 2% disadvantage the candidate now receives solely due to now being listed
 second on all the ballots). As a general rule, in a 2-candidate race in which names are not rotated,
 if the candidate who is always listed first wins an election by a margin that is less than double the
 name order effect, name order can be said to have affected the outcome.

 Calculating the size of the effect of name order in races with three or more candidates is less
 straightforward, because the first position advantage could “take votes away” from all the other
 candidates in the race or only some of them. In my research, I calculate the size of the name
 order effect in races with three or more candidates by subtracting the % of votes a candidate
 received when listed last from the % of votes the candidate receives when listed first. Alternative
 approaches include comparing the % of votes the candidate receives when listed first to an
 average of the % of votes the candidate receives in all other positions, or using linear effects
 models to estimate the predicted change in vote % when the candidate moves from one position
 on the ballot to the next.




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 Name Order Effects in General Elections

 Along with Stanford Professor Jon Krosnick, I examined the effect of candidate name order on
 the 1992 election outcomes in the three biggest counties in Ohio – Cuyahoga, Franklin, and
 Hamilton (Miller and Krosnick 1998). Every Ohio county is required by law to implement a
 sequential rotation scheme to ensure that each candidate for each race on the general election
 ballot is listed in each position on the ballot in approximately an equal number of voting
 precincts. The basic procedure starts with a list of precincts in the county that is ordered based on
 the size of the precinct, the date it was created, and the letter of the first word of the precincts’
 names. Candidates for each race are listed in alphabetical order in precinct #1. For the second
 precinct, the candidate listed first in precinct 1 is moved to the bottom of the list, and so on. For
 example, in a 3-candidate race between Jones, Smith, and Thomas, the names are ordered: Jones,
 Smith, Thomas in precinct 1; Smith, Thomas, Jones in precinct 2; Thomas, Jones, Smith in
 precinct 3; Jones, Smith, Thomas in precinct 4, and so on. In this rotation scheme, each candidate
 is listed in each of the 3 positions in approximately 1/3 of the precincts (if the total number of
 precincts is not divisible by 3, one or two candidates will appear in the first position in 1 more
 precinct than the other(s)).

 We tested whether name order affected the percentage of votes candidates received in 118 races
 that appeared on the ballots in the three counties, including races for U.S. President, U.S. Senate,
 U.S. House of Representatives, State Representative, County Commissioner, Board of Elections,
 and Appeals Court Judge. Thirty-nine of the 96 2-candidate races we studied evidenced
 statistically significant primacy effects, ranging from .79% to 5.04% and averaging 2.74%. Only
 two races evidenced statistically significant recency effects (i.e., cases wherein candidates
 received more votes when listed last than when listed first; their magnitudes were .93% and
 1.96%. Thirty-three of the 87 candidates in the races with more than 2 candidates evidenced
 statistically significant primacy effects (comparing first to last position), ranging from .06% to
 6.27% and averaging 2.26%. There were no statistically significant recency effects. In sum, we
 found statistically significant name order effects for 48% of the candidates we examined; nearly
 all were in the direction of primacy. Across the 183 candidates we examined, candidates received
 an average of 2.33% more votes when listed first on the ballot than when listed last.

 I have also studied the effect of name order in the 2000 general elections in Ohio, North Dakota,
 and California (North Dakota and California rotate names on the ballot in a similar procedure as
 Ohio; Krosnick, Miller, and Tichy 2004). Twenty-three percent of the 170 2-candidate races
 evidenced name order effects; all but two in the direction of primacy. In these 2-candidate races,
 the vote percentage difference between first and last (second) position ranged from 1.41% to
 6.32%, and averaged 2.88%. Thirty-seven percent of the candidates in races with more than 2
 candidates evidenced name order effects; three quarters of them were in the direction of primacy.
 The average magnitude of these primacy effects (comparing first to last position) was 1.36%.

 My collaborators and I have also examined the effects of candidate name order in the races for
 President, Governor, U.S. Senate, and U.S. House of Representative races in 2012 and 2016 in
 New Hampshire, and again found primacy effects to be the rule (MacInnis, Miller, Krosnick,
 Below, and Lindner 2020). “Of the 33 candidates running in the 2012 and 2016 general

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 elections, 79% manifested name order differences in the direction of primacy… Among the
 differences in the direction of primacy, 38% were statistically significant or marginally
 statistically significant, ranging from less than .01 to 2.1 percentage points and averaging 1.1
 percentage points” (pg. 14). First position placement even advantaged Donald Trump and Hillary
 Clinton in the 2016 presidential election—the vote percentage difference for Donald Trump
 when he was listed first compared to last on the ballot was 1.7 (this effect was statistically
 significant); the first vs. last position difference for Hillary Clinton was 1.5 (this effect was
 marginally statistically significant).

 The findings and conclusions from analyses of candidate name order effects in general elections
 from other scholars are consistent with those of my research. Ho and Imai (2006) studied the
 effect of name order in the 2003 California gubernatorial recall election, in which 135 candidates
 were listed on the ballot (name orders were rotated across assembly districts). Forty-one percent
 of the candidates evidenced statistically significant primacy effects, and 3% evidenced
 statistically significant recency effects (i.e., they received more votes when listed lower on the
 ballot).

 Ho and Imai (2008) examined name order effects in the California general elections in between
 1998 and 2000 (for President, U.S. Senate, Governor, Lieutenant Governor, Attorney General,
 Controller, Insurance Commissioner, Secretary of State, Treasurer, and Superintendent of
 Education), and found statistically significant primacy effects in 27 of the 68 races; additional
 results using a larger dataset of statewide races in California general elections going back to
 1978 yielded similar findings.

 Chen et al. (2014) analyzed 31 2-candidate statewide races in North Dakota between 2000 and
 2006 (candidate name order was rotated by precinct). Eighty percent of the analyses were in the
 direction of primacy, and 9 were statistically significant. The average vote percentage advantage
 for first position was 1.17%, which is statistically significant from zero. Chen et al. (2014) found
 no effect of name order in the 3 races with more than 2 candidates, but noted that it is difficult to
 draw strong conclusions from such a small number of races.

 Pasek et al. (2014) examined the effect of name order for 402 candidates running in 76 statewide
 elections in California between 1976 and 2006. Combining across the candidates, they report that
 the first position garnered statistically significantly more votes than other positions, a finding that
 was robust to various model specifications and statistical analysis procedures.

 The only outlier is Alvarez et al. (2006), who reported a mixed pattern of name order effects than
 other scholars (12/52, or 23% of candidates in statewide races in California in 1998 evidenced
 statistically significant primacy effects in their analyses; 25% evidenced statistically significant
 recency effects). Pasek et al. (2014) argue that the Alvarez et al. (2006) anomalous findings (in
 comparison to the rest of the literature) are likely due to their use of lower-powered statistical
 tests, the uniqueness of the 1998 election context in California, and the fact that the authors
 analyzed data prepared by the California Secretary of State’s office that contained errors.

 In addition to the research that examines the impact of ballot position in states in which
 candidates’ names are rotated on the ballot (thus enabling clearer inferences about the effect of

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 name order per se (Johnson, Reynolds, & Mycoff 2020; Kellstedt & Whitten 2018)), there is also
 evidence of a first position bias from analyses of races in which candidate name order was not
 rotated. Without rotation, these findings cannot be unambiguously attributed to ballot position.
 However, given the overwhelming consistency of the first position advantage demonstrated by
 different scholars, across different election years, races, and years, and that the findings are
 robust to alternative explanations and controls means that name order is the most likely cause.

 Two studies examined California city council and school board elections in which the order of
 names on the ballot was determined by a random draw, so that specific characteristics of the
 candidates themselves do not affect ballot position. Meredith and Salant (2013) analyzed 7,846
 such races between 1995 and 2008. They calculated the expected number of winners from each
 ballot position if name order did not matter, and compared that number to the actual number of
 winners from each ballot position. They concluded that the candidate listed first received 4-5%
 more votes than they would have been expected to receive if ballot position did not matter. “This
 estimate implies that the first listed candidate wins mostly one out of ten elections that he or she
 would otherwise lose” (pg. 177). Fillbrunn (2017) replicated these findings using 9,450 city
 council and school board elections in California from 1994 to 2012 using different estimation
 procedures, and found that “The first candidate on the list wins 7.40%... more elections than
 other ballot positions across all elections, which is a 13.0%... increase in winning chances.” Both
 findings were statistically significant.

 Brockington (2003) studied whether candidates who were listed first on the ballot in general
 elections for city council in Peoria, Illinois between 1983 and 1999 received more votes than
 candidates listed in other positions (Peoria did not rotate names), and found that candidates
 received 5.2% less votes per position after first.

 Finally, evidence of primacy effects has been obtained in analyses of general election races in
 which names were ordered alphabetically (Mueller 1970; Scott 1972; Stewart et al. 2008).

 Name Order Effects in Primary Elections

 Primacy effects are also the rule in primary elections. I and my colleagues (MacInnis, Miller,
 Krosnick, Below, and Lindner 2020) tested the impact of name order in the New Hampshire
 primaries in 2000, 2002, and 2004. Across the 51 candidates we studied, the average vote
 percentage advantage of being listed first compared to being listed last on the ballot was 1.85;
 Ninety percent of the candidates showed vote percentage differences in the direction of primacy.
 Among the 48% that were statistically or marginally statistically significant, the primacy effect
 ranged from a .3 to a 7.1 percentage points, for an average primacy effect advantage of 3.17.
 This primacy effect advantage across the 2000, 2002, and 2004 New Hampshire primaries is
 larger than the primacy effect we observed for the 2012 and 2016 New Hampshire general
 elections (see discussion above).

 Grant (2017) analyzed the effect of name order in the Democratic and Republican primaries for
 all statewide races and one federal statewide (U.S. Senate) race in 2014 in Texas (where name
 order was randomized from county to county). All 24 contests evidenced statistically significant
 primacy effects, ranging from 1 to nearly 10 percentage points.

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  Koppell and Steen (2014) analyzed 79 races in the 1998 Democratic primary in New York City
  (where names were rotated by precinct). In 71 of the 79 races, candidates received more votes
  when listed first than in any other position (21 of the 79 analyses were statistically significant).
  The average first-position advantage was 3.4%. Moreover, the authors found that, “In 7 of the 79
  contests, the first-position advantage exceeded [emphasis in original] the margin of victory…
  One of these elections was the hotly contested primary [between Melinda Katz and Anthony
  Weiner] to succeed Chuck Schumer in the House of Representatives” (pg. 276). In comparing
  their primacy effect results to my findings with Dr. Jon Krosnick (Miller and Krosnick 1998) on
  the first-position advantage in the 1992 general elections in the three largest counties in Ohio,
  Koppell and Steen (2014) conclude that: “the effect of name order on primary election outcomes
  is significantly larger than Miller and Krosnick’s estimate for general elections; furthermore, the
  magnitude of name-order effects is large enough to turn the outcome in some races. This
  phenomenon may not adversely affect any particular class of citizens, but it undermines equality
  among individual candidates. This is no less offensive to the democratic principle of fair play
  than, say, a state program that would provide a single candidate in each election contest—
  determined by lottery—with a cash grant.” (pg. 268).

  Ho and Imai (2008) examined name order effects in the California primary and general elections
  in 1998 and 2000 (for President, U.S. Senate, Governor, Lieutenant Governor, Attorney General,
  Controller, Insurance Commissioner, Secretary of State, Treasurer, and Superintendent of
  Education). Of the 128 candidates in the primaries, 56% evidenced statistically significant
  primacy effects; the median effect was 1.6%. White (1950) reported a first position advantage in
  the 1948 Republican primary for Ohio Senate (where the two candidates’ names were rotated by
  precinct).

  Edwards (2015a; 2015b) tested for name order effects in U.S. Senate and House elections
  between 1949 and 2012 and in state legislative elections between 1967 and 2012 by comparing
  states that used alphabetically ordered ballots to states that rotated or randomized candidate name
  order (over 87,000 races in total); he also found primacy effects to be the rule.

  Brockington (2003) studied whether candidates who were listed first on the ballot in the primary
  elections for city council in Peoria, Illinois between 1983 and 1999 received more votes than
  candidates listed in other positions (Peoria did not rotate names), and found that candidates
  received 1.7% less votes per position after first. Without rotation, this decrease in vote
  percentage cannot be unambiguously attributed to ballot position. However, the effect was robust
  to alternative explanations and controls. Brooks (1921) reports a similar primacy effect in the
  race for national delegate at large in the Democratic primary in Pennsylvania in 1920, in which
  candidates’ names were listed in alphabetical order.

  Moderators of Name Order Effects

  In our study of the 1992 Ohio general elections (Miller & Krosnick 1998), we argue that name
  order effects would be larger in races about which voters had less information. Consistent with
  expectations, name order effects were larger for races that: 1) received less media coverage, 2)
  were non-partisan, and 3) did not involve incumbents. They were also stronger for races that had

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  a higher rolloff percentages (the proportion of voters who cast a ballot in the election but
  abstained from voting in that particular race), and for the county (of the three) in which residents
  were the least educated. Inconsistent with expectations, name order effects were smaller for races
  towards the end of the ballot.

  Consistent with our finding (Miller & Krosnick 1998) that name order effects will be stronger
  among voters who have less information about the candidates (or for low-information races),
  Pasek et al. (2014) found that primacy effects were larger for low-visibility races, in years with
  higher turnout, in races that were not close, and in non-partisan races. Chen et al. (2014) found
  that primacy effects were larger for races in presidential election years, as well as in non-
  partisan, open seat, and low visibility races when examined separately. When all 4 variables
  were included in the same model, nonpartisan races and those held in presidential election years
  remained statistically significant, positive predictors of the size of the primacy effect (see also
  Meredith and Salant 2013; Scott 1972).

                               Effects of Other Ballot Design Choices

  Theory

  Candidate name order is not the only ballot design feature that can affect vote choice, although it
  is the one that has been the subject of the most empirical research. Other design choices, such as
  whether whether to include all candidates for a single race in one column or two (e.g., the
  “butterfly ballot”), whether voters are required to fill in a circle or connect an arrow on paper
  ballots, whether party symbols are used instead of party names, and confusing instructions (see
  Niemi & Herrnson 2003 for a review of the variation in ballot designs across the states and a
  discussion of some of the problems with individual state designs), can affect vote choice.

  Beyond name order primacy effects, the design of the ballot can have a systematic effect on: 1)
  undervotes (the number of people who register a vote for some races on the ballot but not all of
  them; this is also called “rolloff”); 2) overvotes (the number of people who cast votes for more
  than the allowable number of candidates in a race, thus invalidating their vote), 3) “proximity-
  mistake” votes (accidentally voting for a candidate whose name appears next to the candidate for
  whom the voter wanted to cast a ballot), and ballot-flaw-induced votes (“miscast votes caused by
  ballots with design flaws that predictably lead a percentage of voters to make certain categories
  of mistakes when voting” (Beazley 2013; pg. 21)).

  One reason that seemingly innocuous ballot design features can affect vote choice and election
  outcomes is that, at the individual level, voting is a low-cost, low-benefit activity for most people
  (Aldrich 1993). As such, voters have incentives to use simplifying strategies to reduce the
  cognitive effort needed to cast their ballot, and are susceptible to subtle influences of even
  innocuous-seeming ballot design choices. The field of behavioral economics has identified a
  multitude of design features that can affect decisions of all kinds, such as how the layout of items
  on a restaurant menu can affect people’s choices. In their book, Nudge: Improving Decisions
  About Health, Wealth, and Happiness, Thaler and Sunstein (2008) review the myriad ways
  “choice architects” take advantage of the cues and heuristics individuals use to make low-effort
  decisions to “nudge” people to make their desired choice (e.g., by manipulating the choice set or

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  by placing desired choice front-and-center in people’s visual fields). Other research on ballot
  design effects draws from work in survey methodology that finds that variations in survey
  question wording and question placement affect survey responses (e.g., Kimball and Kropf
  2005). Given the wealth of evidence in psychology, survey research, and behavioral economics
  about the impact of design effects in a wide array of domains, Beazley (2013) argues that,

      “When governments take on the responsibility of mandating a particular ballot and then
      designing that ballot, they become ‘choice architects,’ that is, they design the structures
      that people use to exercise a choice. In the case of elections, election administrators
      design—or choose the design of—the ballots that voters use to select the holders of
      dozens of national, state, county, and local offices. Because governments require voters
      to use a specific ballot to exercise their most fundamental right of citizenship, they have
      an obligation to ensure that the ballot does not needlessly interfere with the exercise of
      that right” (pg. 19).

  In the remaining paragraphs, I summarize some of the empirical findings on the effect of
  other ballot design choices besides name order on vote choice and election outcomes.
  Although none of these studies speaks directly to the specific features of the New Jersey
  Democratic primary ballot, I conclude that design features that are unique to the New Jersey
  Democratic primary ballot are likely to lead to systematic biases in vote choice of the kind
  demonstrated in the literature on name order and other ballot design effects.

  Research Findings

  In their report, Better Ballots, Norden et al. (2008) examined how ballot design problems
  affected federal and state races between 2000 and 2008 by leading to an increase in “residual” or
  lost votes (either undervotes or overvotes). Overvotes are always due to voter error. Undervotes
  (i.e., not recording a vote in a particular race on the ballot, aka rolloff) could be due to voter error
  or a conscious choice by a voter to abstain from that race. In the absence of randomization of
  groups of voters to different ballot designs, it is difficult to discern whether any single instance
  of higher than usual residual votes are due to ballot design. But to the extent that a systematic
  increase in residual votes appears in conjunction with a particular ballot design across a large
  number of races and municipalities, ballot design is likely the culprit. The report goes on to argue
  that, “the strong correlation between flawed ballot design and instructions on the one hand, and
  high residual vote rates on the other, is difficult to deny. Invariably, when the authors and the
  Brennan Center Task Force on Ballot Design reviewed ballots in counties with unusually high
  residual vote rates, we found a poor design, poorly worded instructions, or (very often) both”
  (pg. 19).

  The report identifies thirteen ballot design problems that were correlated with higher residual
  votes in counties that used those ballots, including: 1) splitting candidates for the same office
  onto two different columns (such as the infamous Palm Beach County “butterfly ballot”) or
  pages, 2) requiring voters to complete an arrow (in contrast to requiring them to fill in a bubble),
  and 3) leaving columns or rows for disqualified or withdrawn candidates on the ballot.

  Based on their analysis, Norden et al. (2008) conclude that:

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      “Poor ballot design and instructions have led to the disenfranchisement of hundreds of
      thousands of voters in the last several federal elections. In nearly every election, we
      have seen ballot design mistakes repeated. There is compelling evidence that when
      basic usability principles are ignored in the design of ballots and drafting of
      instructions, a significant percentage of voters will be disenfranchised, and the affected
      voters will disproportionately be poor, minority, elderly and disabled voters” (pg. 13).

  Kimball and Kropf (2005) examined the impact of a host of ballot design features on unrecorded
  votes for Governor in 250 counties in 5 states in 2002. In all 5 states, the gubernatorial race was
  the first-listed and arguably the most familiar race on the ballot. Although the number of
  unrecorded votes for top-of-the-ballot, prominent races is smaller than for other races on the
  ballot, the authors point to a CalTech/MIT Voting Technology Project report that found that
  roughly 1 in 50 voters failed to cast a ballot for President in the 2000 election. Kimball & Kropf
  (2005) examine the impact of an index of ballot design features such as: 1) requiring voters to
  “connect the arrow” instead of “fill in the bubble,” 2) listing candidates for the same race in more
  than one column or on more than one page, 3) designs that are ambiguous with regard to whether
  voters should mark the box/circle/arrow to the left or the right of the candidate’s name, 4) the
  presence of confusing instructions, and 5) cluttered ballots that include unnecessary information
  along with candidates’ names and parties. They found that the index was statistically
  significantly positively related to unrecorded votes, concluding that “ballot design can be an
  important factor in determining whether voters are able to cast a ballot accurately, which can
  influence the legitimacy of elections” (pg. 508).

  The “butterfly ballot” that was used in the 2000 general election in Palm Beach County, Florida
  has also been the subject of both media and scholarly scrutiny. Rather than list all the
  presidential candidates in a single column, the butterfly ballot listed them in two columns, with
  “punch holes” between the two columns that alternated between candidates. To register a vote
  for the first candidate in the left column, voters needed to punch the first hole (George W. Bush
  was in this position on all ballots, because Florida does not rotate names, and gives the top spot
  in each race to the candidate who is of the same party as the current Governor). To register a vote
  for the second candidate in the left column, voters needed to punch the third hole (Al Gore was
  always listed in this position, because Florida law requires that the second-listed candidate be of
  the other major party). Voters who punched the second hole registered a vote for Pat Buchanan
  (who was always listed in the first position in the second column). This peculiar ballot design
  caused a great deal of confusion, and led to speculation that some number of voters in Palm
  Beach County who wanted to vote for Al Gore mistakenly punched the second hole (and thus
  voted for Buchanan), because Gore was the second candidate in the left-hand column. Wand et
  al. (2001) conducted an extensive empirical study of the impact of the butterfly ballot in Palm
  Beach County and concluded that the butterfly ballot was the source of anomalous support for
  Buchanan in Palm Beach County, stating: “with respect to the Reform vote in 2000, Palm Beach
  County is the largest outlier among all counties in the United States we were able to examine”
  (pg. 803). Their finding that the butterfly ballot was the cause of the large number of Buchanan
  votes was robust to a series of alternative explanations. Moreover, they found that the systematic
  voting errors that favored Buchanan caused at least 2,000 Democrats to mistakenly cast a vote



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  for Buchanan. This number of votes alone was the difference between Bush and Gore winning
  the presidency (see also Kimball & Kropf 2005).

  Shue and Luttmer (2009) studied the impact of ballot design on “adjacency misvotes” (aka
  “proximity-mistake” votes), which occurs when a candidate receives more votes when they are
  listed in close proximity (next to or just above or below) a popular candidate. Using the 2003
  California Gubernatorial recall election in which the order of candidates’ names were rotated
  across assembly districts, Shue and Luttmer (2009) found minor candidates’ vote shares close to
  doubled when listed adjacent to a major party candidate; this effect was statistically significant.

  Augenblick and Nicholson (2016) examined vote returns for every federal, state, and local
  contest for every primary and general election between 1992 and 2002 in every San Diego,
  California precinct to test whether the position of the race on the ballot impacted the rolloff
  percentage for that race. California law requires some local races to appear on the ballot before
  other races. The number of local races from precinct to precinct varies, which means that some
  races appear closer to the top of the ballot in some precincts than they do in others. Augenblick
  and Nicholson (2016) summarized the results of their statistical analyses thusly: “across all
  contests in our data set, we find that lowering a given contest by one position on the ballot
  increases precinct-level undervotes by 0.11 percentage points” (pg. 462).

                   Implications for the New Jersey Democratic Primary Ballot

  As Rubin (2020) documents, the New Jersey Democratic primary ballot is unique in a number of
  respects. One of the features unique to the New Jersey primary ballot is that it uses a format akin
  to the party column design (even though all the candidates running in each race are from the
  same party): “in all other states and DC, primary ballots are organized by the electoral position
  being sought, with candidates listed beneath each position… or immediately to the right of each
  position… These ballot designs make it easy for voters to identify which candidates are running
  for which electoral office. By contrast, in nineteen of New Jersey’s twenty-one counties, primary
  ballots are organized around a slate of candidates endorsed by either the Democratic or the
  Republican Party. These slates of candidates are known as the ‘county line,’ in reference to the
  fact that the endorsements are determined at the county party level and the endorsed candidates
  are presented on the ballot as a vertical or horizontal line of names” (Rubin 2020, pg. 1-2; see
  also Rubin 2020 for a link that includes recent sample ballots for all 50 states and the District of
  Columbia). The “county line” is also given one of the top positions on the ballot (the order of
  names is not rotated). Oftentimes, a candidate who is not on the “county line” can be placed in a
  column far away from the other candidates in the same race, with a series of blank columns in
  between them and the county-endorsed column, which typically has a candidate running in every
  race.

  As reviewed above, the scholarly literature overwhelmingly concludes that candidates receive
  systematically more votes when they are listed first on the ballot. Given the consistency of the
  evidence of primacy effects from different scholars and across different states, years, and races,
  it is extremely likely that primacy effects have occurred and will occur in the New Jersey
  primaries. Candidates in New Jersey primaries who never have a chance to be listed in the first
  position are systematically disadvantaged.

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  Moreover, although the unique features of the New Jersey primary ballot have not been the
  subject of empirical analyses, given the evidence of the effects of confusing ballot designs on
  overvotes, undervotes, and mistaken votes reviewed above (e.g., Kimball and Kroft 2005;
  Norden et al. 2008; Wand et al. 2001), I conclude that New Jersey Democratic primary ballot
  design features such as:

             a. the placement of a candidate far away from other candidates in the same race
                (separated by multiple blank columns);
             b. the visual cue of one “full” column of candidates in comparison to sparse
                columns;
             c. the inclusion of superfluous information such as column labels;
             d. the arbitrary grouping of candidates for different races in the same column; and
             e. having a “lone wolf” candidate in his/her own column

  are likely to have similar types of systematic effects.




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  EDUCATION, EMPLOYMENT, AND APPOINTMENTS

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  Ph.D., Psychology, Ohio State University, February, 2000
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  M.A., Psychology, Ohio State University, 1995
  B.A., Psychology & Political Science, University of Richmond, 1991, Magna Cum Laude

  Academic Positions

  2019-present Associate Professor of Political Science and International Relations and Associate
               Professor of Psychology and Brain Sciences, University of Delaware

  2007-2018     Associate Professor of Political Science, Affiliate Associate
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                Mass Communication, University of Minnesota

  2001-2007     Assistant Professor of Political Science & Adjunct Assistant Professor of
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  2000-2001     Assistant Professor of Political Science, University of Connecticut

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  2019-present Center for Political Communication, University of Delaware

  2019-2020     PhD Admissions Director, Department of Political Science and International
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  2005-2008     Director of Graduate Studies, Graduate Minor in Political Psychology, University
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  Identity-Driven Political Behavior: An Oversold Solution?” Manuscript under review.

  Manuscripts In Preparation

          Miller, Joanne M., Christina E. Farhart, and Kyle L. Saunders. “Are Conspiracy Theories
  for Losers? The Effect of Losing an Election on Conspiratorial Thinking.”
          Miller, Joanne M., Kyle L. Saunders, David A. M. Peterson, and Scott D. McClurg.
  “Putting the Political in Political Interest: The Conditional Effect of Politics on Citizen’s Interest
  in Politics.”

         MacInnis, Bo, Joanne M. Miller, Jon A. Krosnick, Miriam Lindner, Clifton Below.
  “Ballot Order Effects in New Hampshire Randomizing Candidates’ Names on the Ballot Reveals
  Broad Electoral Impacts.”




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        Miller, Joanne M. “Conspiracy Theories.” For Cambridge Handbook of Political
  Psychology, ed. Danny Osborne and Chris Sibley (invited to contribute a chapter). Cambridge:
  Cambridge University Press.

         Miller, Joanne M. and Dannagal G. Young. “Political Communication: Form and
  Consequence of the Information Environment.” For Oxford Handbook of Political Psychology,
  ed. Leonie Huddy, David Sears, Jack Levy, and Jennifer Jerit (invited to contribute a chapter).
  Oxford: Oxford University Press.


  Grants and Awards

  National Science Foundation ($38,250, funded by the RAPID program) for: “Influence on
         Beliefs in Non-Scientific Theories” (co-PI with David Peterson)
  University of Minnesota, Single Semester Leave (awarded for fall 2017)
  University of Minnesota, Outstanding Advising and Mentoring Award (2017; given by the
         Council of Graduate Students)
  University of Minnesota, Grant in Aid ($36,000) for: “Are Conspiracy Theories for (Political)
         Losers?” (awarded in September 2016)
  University of Minnesota, Grand Challenges Exploratory Research Grant ($55,000) for:
         “Understanding Barriers to Health Equity” (awarded in fall 2016 to Joanne M. Miller and
         Sarah Gollust, co-PIs)
  Best Paper Award (2016) for the best paper delivered on an Elections, Public Opinion, and
         Voting Behavior panel at the 2015 APSA annual meeting. Paper: “Macrointerest: The
         Public as Attentive Gods of Vengeance but Lazy Gods of Reward (with Apologies to
         V.O. Key)” (with David A. M. Peterson, Kyle L. Saunders, and Scott McClurg).
  Paul Lazarsfeld Award (2015) for the best paper delivered on a Political Communication panel
         at the 2014 APSA annual meeting. Paper: “Conspiracy Endorsement as Motivated
         Reasoning: The Moderating Roles of Political Knowledge and Trust” (with Kyle L.
         Saunders and Christina E. Farhart).
  Best Paper Award (2010) awarded for the best paper delivered on a Political Organizations and
         Parties-sponsored panel at the 2009 APSA annual meeting. Paper: “Networking the
         Parties: A Comparative Study of Democratic and Republican National Convention
         Delegates in 2008” (with Michael T. Heaney, Seth E. Masket, and Dara Z. Strolovitch).
  University of Minnesota, Single Semester Leave (awarded for fall 2010; declined).
  University of Minnesota, Sabbatical Supplement (awarded for 2010-2011).
  Pew Charitable Trusts, planning grant for: “Evaluation of Minnesota Secretary of State
         Automatic Voter Registration Updating Program” (Lawrence R. Jacobs and Joanne M.
         Miller, co-PIs), 2009.
  National Science Foundation SGER ($32,500, funded by Political Science) for: “Healing the
         Rifts: A Study of Intraparty Factionalism at the Presidential Nominating Conventions”
         (Michael T. Heaney, Seth E. Masket, Joanne M. Miller, Dara Z. Strolovitch, co-PIs), Sept
         2008-Jan. 2010.


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  National Science Foundation ($287,483, jointly funded by Political Science and Social
          Psychology Programs) for: “An Experimental Test of the Role of Motives in Predicting
          Political Participation” (Joanne M. Miller, PI), Feb. 2007-Sept. 2009.
  Center for Urban and Regional Affairs, University of Minnesota ($5,000) for: “Embodied
          Politics: Partisans, Protesters, and the 2008 National Party Conventions” (Joanne M.
          Miller and Dara Z. Strolovitch, co-PIs), Sept. 2008-Sept. 2009.
  Office of the Vice President for Research, University of Minnesota ($15,000) for:
          “Translating Theory and Research on Civic Participation to Create Vibrant Communities
          for an Urban Age” (Mark Snyder, Joanne M. Miller, Geoffrey Maruyama, Andrew Furco,
          co-PIs), awarded Fall, 2008.
  Office for System Academic Administration, University of Minnesota ($10,000) for:
          “Translating Theory and Research on Civic Participation to Create Vibrant Communities
          for an Urban Age” (Mark Snyder, Joanne M. Miller, Geoffrey Maruyama, Andrew Furco,
          co-PIs), awarded Fall, 2008.
  Center for the Study of Political Psychology, University of Minnesota ($10,000) for: “An
          Interdisciplinary Study of Civic Participation” (Joanne M. Miller and Mark Snyder, co-
          PIs), awarded Spring, 2008.
  Best Article Award, awarded in 2007 for the best article published in the American Review of
          Public Administration for the year 2006 for: “Experience, Attitudes, and Willingness to
          Pay for Police and Fire Protection (with Amy Donohue).
  University of Minnesota, McKnight Travel Award ($1200), 2005
  University of Minnesota, Single Semester Leave, 2005
  University of Minnesota, Grant-in-Aid ($34,600), 2004
  University of Minnesota, Faculty Summer Research Fellowship ($5,000), 2004
  University of Connecticut, Faculty Grant ($22,000), 2001
  Keynote Presentations

  “The Promise and Challenge of Conspiracy Theory Research” to be presented at the Conspiracy
  Theory Conference (international 2-day conference with over 60 presenters), University of
  Miami, March 19-22, 2020. Cancelled because of COVID-19

  “Coping by Conspiracy? Some Puzzles and Unanswered Questions” presented at the COST
  Comparative Analysis of Conspiracy Theories conference in Prague, Czech Republic, September
  19-21, 2019.

  Invited Research Presentations at Departments and Small Conferences

  “Conspiracy Theories and the Iowa Caucus” invited to present at Stony Brook University,
  March, 2020. Cancelled because of COVID-19

  “Conspiracy Theories: Things that Make You (Me) Go Hmmm” presented at the American
  Politics colloquium series at Rutgers University, February 2020.



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  “Coping by Conspiracy” presented at the American Politics colloquium series at the University
  of Pennsylvania, February 2019.

  “Why People Believe Conspiracies” presented at the Clarke Forum for Contemporary Issues (the
  Bruce R. Andrews Lecture), Dickinson College, February 2019.

  “Coping by Conspiracy” presented at the Political Methodology colloquium series at Iowa State
  University, 2018.

  “Conspiracy Theories: Who Believes and Why it Matters” presented at the Midterm Election
  Symposium at Colorado College, 2018.
  Roundtable participant, “Facts, Fiction, and Free Media” at the APSA Political Psychology Pre-
  Conference, Boston, MA, August 29, 2018

  “Coping by Conspiracy” presented at the Belief Default Symposium: Implications of the
  Spinozan Belief Model for Science and Society, hosted by Hamline University, April 19-20
  2018.

  “The Relationship between Losing an Election and Conspiracy Theory Endorsement” presented
  at the Post-Truth Politics Conference, hosted by the Center for Congressional and Presidential
  Studies at American University, March 28 2018.

  “The Relationship between Losing an Election and Conspiracy Theory Endorsement” at
  the Political Misperceptions Conference, hosted by the Department of Political Science at the
  University of Houston, Feb 9-10 2018.

  “Coping by Conspiracy” at the University of North Carolina, Chapel Hill’s American Politics
  Research Group, Fall 2017

  “Coping by Conspiracy” at the Department of Political Science, University of California,
  Berkeley, Spring 2017

  “Blind Beliefs? Conspiracies, Hoaxes, and Disinformation” at the University of Wisconsin-
  Madison’s Ethics Conference, titled Truth, Trust, and the Future of Journalism, Spring 2017.

  “Explaining Political Participation: A Motivational Approach” at the Chicago Area Political and
  Social Behavior Workshop (CAB), Northwestern University, May 9, 2014.

  “Experiments in Messaging: Insights from Psychology” at the Harkin Institute for Public Policy,
  Iowa State University (Symposium on Campaigns and the 2012 Election), Winter, 2013.

  “Explaining Political Participation: A Motivational Approach” at the University of Chicago,
  Winter, 2012.


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  “What Motivates Political Participation?” at the Department of Political Science, University of
  Virginia, Fall, 2010.

  “Why do People Participate in Politics?” at the Department of Political Science, University of
  Nebraska, Spring, 2008.

  “Mediators and Moderators of News Media Agenda-Setting and Priming,” at the Department of
  Communications, University of Texas at Austin, Spring, 2008.

  “Why do People Participate in Politics?” at the Department of Political Science, University of
  Texas at Austin, Fall, 2008.

  “New Research on Agenda-Setting,” invited roundtable speaker at the Symposium on Agenda-
  Setting: Celebrating the 40th Anniversary of the Chapel Hill Study,” University of Texas at
  Austin, Fall, 2008.

  “Bringing Together the Old and the New: Motivations for Political Participation,” at the
  Department of Political Science, Stony Brook University, 2006.

  “Framing and Political Participation,” at the Conference on Framing, Texas A&M University,
  2005

  “Identity Based Feelings, Beliefs, and Actions: How Being Influences Doing” with Wendy
  Rahn, at the Conference on Social Connectedness and Public Activism, Center for Political
  Studies, Harvard University, 2002.

  “Political Psychology: An Interdisciplinary Approach to Studying Attitudes and Behavior,”
  Departments of Psychology and Political Science, University of Richmond, 2002

  “Threat as a Motivator of Political Activism: A Field Experiment,” at the 2nd Minnesota
  Symposium on Political Psychology: New Research on the Political Psychology of Campaigns
  and Elections, Center for the Study of Political Psychology, University of Minnesota, 2000.

  “Threats and Opportunities as Motivators of Political Activism,” at the Conference on Political
  Participation: Building a Research Agenda, Princeton University, 2000.

  “Threats and Opportunities as Motivators of Political Activism,” at the Department of Political
  Science, University of Minnesota, 1999; at the Department of Political Science, Duke University,
  1999; at the Department of Political Science, University of Wisconsin, 1999; at the Department
  of Political Science, University of Connecticut, 1999; at the Department of Political Science,
  University of Oklahoma, 1999; at the Department of Political Science, Binghamton University,
  1999; at the Department of Political Science, University of Pittsburgh, 1998.


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  “Mediators and Moderators of News Media Priming,” at the Department of Political Science,
  Stony Brook University, 1997.

  Pedagogical Presentations

  Lecturer, International Society for Political Psychology Summer Academy, July 9-11 2018.

  Invited Discussant, Visions in Methodology Conference, May, 2014, McMaster University.
  (VIM’s mission is to support women who study political methodology. The Conference provides
  opportunities for scholarly progress, networking, and professional mentoring in research and
  teaching in order to support women in the political methodology community).

  “What are the Limits of Polls?” presented at Views from the U: The Political Science of Election
  ’08, University of Minnesota, 2008.

  “What Motivates Political Participation?” presented to the College in the Schools, University of
  Minnesota, 2008.

  “Mediators and Moderators of News Media Agenda-Setting and Priming,” to the graduate
  students in JOUR 8001, Studies in Mass Communication I, University of Minnesota, 2005 and
  2009.

  “WWI and WWII Propaganda,” presented to the College in the Schools, University of
  Minnesota, 2004.

  “The Electoral College,” to the Wayzata/Plymouth League of Women Voters, Golden
  Valley, Minnesota, 2004.

  “Negative Political Advertising,” College in the Schools, University of Minnesota, 2004.

  Research Presentations at Conferences

         Miller, Joanne M. 2020. “Are Conspiracy Theories for Losers?” 2020. Paper to be
  presented at the New York Area Political Psychology Meeting, Columbia University, New York.
  Cancelled because of COVID-19

         Miller, Joanne M. and Sarah E. Gollust. 2020. “The Antecedents and Consequences of
  Loser Perceptions in the Domains of Politics, Health Policy, and Economic Policy.” Paper to be
  presented at the Annual Meeting of the Midwest Political Science Association, Chicago, IL.
  Cancelled because of COVID-19

       Miller, Joanne M. and David A. M. Peterson. 2020. “Wind Turbines and Vaccines: The
  Asymmetrical Effect of Donald Trump’s Statements on Belief in Misinformation.” Paper to be

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  presented at the Annual Meeting of the Midwest Political Science Association, Chicago, IL.
  Cancelled because of COVID-19

         Miller, Joanne M., Christina E. Farhart, and Kyle L. Saunders. 2020. “Experimentally
  Manipulating Loser Perceptions: Are Conspiracy Theories for Losers?” Paper to be presented at
  the Annual Meeting of the Midwest Political Science Association, Chicago, IL. Cancelled
  because of COVID-19

         Farhart, Christina E., Joanne M. Miller, and Kyle L. Saunders. 2019. “Conspiracy Relief?
  Learned Helplessness and Conspiratorial Thinking.” Paper presented at the Annual Meeting of
  the Midwest Political Science Association, Chicago, IL.

          Miller, Joanne M., Christina E. Farhart, and Kyle L. Saunders. 2019. “Are Conspiracy
  Theories for Losers?” Paper presented at the Annual Meeting of the International Society of
  Political Psychology, Lisbon, Portugal.

          Farhart, Christina E., Joanne M. Miller, and Kyle L. Saunders. 2019. “Conspiracy Relief?
  Learned Helplessness and Conspiratorial Thinking.” Paper presented at the Annual Meeting of
  the International Society of Political Psychology, Lisbon, Portugal.

         Miller, Joanne M., Christian E. Farhart, and Kyle L. Saunders. 2019. “Why Do People
  Share Conspiracy Theories.” Paper presented at the Annual Meeting of the American Political
  Science Association, Washington, DC.

        Miller, Joanne M., Christina E. Farhart, and Kyle L. Saunders. 2018. “The Relationship
  between Losing an Election and Conspiracy Theory Endorsement.” Paper presented at the
  Annual Meeting of the Midwest Political Science Association, Chicago, IL.

         Farhart, Christina E., Kyle L. Saunders, and Joanne M. Miller. 2018. “Are Political
  Losers More Likely to Believe Conspiracy Theories than Winners?” Paper presented at the
  Annual Meeting of the International Society of Political Psychology, San Antonio, TX.

        Gollust, Sarah E. and Joanne M. Miller. 2018. “Framing the Opioid Crisis: Do Racial
  Frames Shape Beliefs of Whites Losing Ground?” Paper presented at the Annual Meeting of the
  American Political Science Association, Boston, MA.

        Miller, Joanne M., Kyle L. Saunders, and Christina E. Farhart. 2017. “Ideological
  Asymmetry in Conspiracy Beliefs: The Role of Political Loser Status.” Paper presented at the
  Annual Meeting of the American Political Science Association, San Francisco, CA.




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         Farhart, Christina E., Kyle L. Saunders, and Joanne M. Miller. 2017. “Of Political Losers
  and Threatened Self-Concepts: The Causes of Ideologically Motivated Belief in Conspiracy
  Theories.” Paper presented at the Annual Meeting of the International Society of Political
  Psychology, Edinburgh, Scotland.

         Farhart, Christina E., Joanne M. Miller, and Kyle L. Saunders. 2017. “The Relationship
  Between Perceptions of Loser Status and Conspiracy Theory Endorsement.” Paper presented at
  the Annual Meeting of the Midwest Political Science Association, Chicago, IL.

          Theys, Marissa, Kyle L. Saunders, and Joanne M. Miller. 2017. “I Just Want (and Need)
  to Believe: The Interaction between Authoritarianism and Ideology in Predicting Conspiracy
  Theory Endorsement.” Paper presented at the Annual Meeting of the Midwest Political Science
  Association, Chicago, IL.

          Farhart, Christina E., Kyle L. Saunders, and Joanne M. Miller. 2016. “An Experimental
  Test of the Conspiracy Theories are for Losers Hypothesis.” Paper presented at the annual
  meeting of the American Political Science Association, September 1-4, 2016, Philadelphia, PA.

         Lavine, Howard, Marti Hope Gonzales, Christopher M. Federico, and Joanne M. Miller.
  2016. “The Relationship between Infant Temperament and Adult Political Ideology.” Paper
  presented at the annual meeting of the American Political Science Association, September 1-4,
  2016, Philadelphia, PA.

          Federico, Christopher M., Howard Lavine, Marti Hope Gonzales, and Joanne M. Miller.
  “Infant Temperament as an Antecedent of Adult Political Preferences.” Paper presented at the
  annual meeting of the International Society of Political Psychology, July 13-16, 2016, Warsaw,
  Poland.

         Peterson, David A. M., Scott McClurg, Joanne M. Miller, and Kyle L. Saunders. 2016.
  “The Effect of Election Campaigns on Political Interest” Paper presented at the annual
  conference of the Canadian Political Science Association, May 31-June 2, Calgary, Canada.

         Miller, Joanne M., Kyle L. Saunders, and Christina E. Farhart. 2016. “Are Republicans
  Really More Prone to Conspiracy Beliefs than Democrats? An Experimental Test of the
  ‘Conspiracy Theories are for Losers’ Hypothesis.” Paper presented at the annual meeting of the
  Midwest Political Science Association, April 7-10, 2016, Chicago, Il.

         Miller, Joanne M., Christopher M. Federico, Marti Hope Gonzales, and Howard Lavine.
  2016. “Developmental Antecedents of Adult Ideology.” Paper presented at the annual meeting of
  the Midwest Political Science Association, April 7-10, 2016, Chicago, Il.

        Peterson, David A. M., Kyle L. Saunders, Scott McClurg, and Joanne M. Miller. 2015.
  “Macrointerest: The Public as Attentive Gods of Vengeance but Lazy Gods of Reward (with

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  Apologies to V.O. Key).” Paper presented at the annual meeting of the American Political
  Science Association, San Francisco, CA. Recipient, Elections, Public Opinion, and Voting
  Behavior Best Paper Award (2016), presented for the best EPOVB section paper delivered at the
  previous year’s APSA Annual Meeting.

         Miller, Joanne M., Kyle L. Saunders, and Christina Farhart. 2015. “Motivated Conspiracy
  Endorsement: A Test of Moderators and Thoughts about Future Research.” Invited to present at
  the Conference on Conspiracy Theories, University of Miami, March 12-15.

          McClurg, Scott, Joanne M. Miller, David A. M. Peterson, and Kyle L. Saunders. 2015.
  “Political Interest and Polarized Politics.” 2015. Paper presented at the annual meeting of the
  Midwest Political Science Assocation, Chicago, IL.

        Saunders, Kyle L., Joanne M. Miller, and Christina E. Farhart. 2015. “Conspiracy
  Endorsement as Motivated Reasoning.” 2015. Paper presented at the annual meeting of the
  Midwest Political Science Assocation, Chicago, IL.

         Miller, Joanne M., Kyle L. Saunders, and Christina E. Farhart. 2014. “Conspiracy
  Endorsement as Motivated Reasoning: The Moderating Roles of Political Knowledge and Trust.”
  Paper presented at the annual meeting of the American Political Science Association,
  Washington, DC. Recipient, Paul Lazarsfeld Award (2015), presented for the best Political
  Communication paper delivered at the previous year’s APSA Annual Meeting.

         Saunders, Kyle L., Joanne M. Miller, and Christina E. Farhart. 2014. “The Impact of
  Question Order on the Correlates and Consequences of Conspiratorial Thinking.” Paper
  presented at the International Society of Political Psychology, Rome, Italy.

         Miller, Joanne M., Kyle L. Saunders, and Christina E. Farhart. 2014. “If You Ask Me If
  I’m a Birther You Must be Crazy: The Impact of Asking Conspiracy Theory Questions on Data
  Quality.” Paper presented at the Annual Meeting of the Midwest Political Science Association,
  Chicago, IL.

          Miller, Joanne M. 2013. “From Being to Doing: Why Do People Participate in Politics?”
  Paper presented at the annual meeting of the American Political Science Association, Chicago,
  IL.
          Miller, Joanne M. 2013. “Roundtable: Lodge and Taber, The Rationalizing Voter.”
  Invited roundtable at the annual meeting of the American Political Science Association, Chicago,
  IL.

         Miller, Joanne M. 2013. “25 Year Anniversary of News That Matters.” Invited roundtable
  presentation at the annual meeting of the Midwest Political Science Association, Chicago, IL.




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          Miller, Joanne M. 2012. “Why Do People Participate in Politics? A Tale of Four
  Identities.” Paper was supposed to be presented at the annual meeting of the American Political
  Science Association (organized panel on the Psychology of Collective Action), but the
  conference was canceled.

         Miller, Joanne M. 2012. “25 Year Anniversary of News That Matters.” Invited roundtable
  presentation scheduled for the annual meeting of the American Political Science Association, but
  the conference was canceled.

         Miller, Joanne M. and Kyle Saunders. 2012. “It's Not All About Resources: The Role of
  Motivation in Explaining the Instability of Political Participation.” Paper presented at the annual
  meeting of the International Society for Political Psychology, Chicago, IL.

         Miller, Joanne M. and Kyle Saunders. 2012. “It's Not All About Resources: The Role of
  Motivation in Explaining the Instability of Political Participation.” Paper presented at the annual
  meeting of the Midwest Political Science Association, Chicago, IL.

         Sheagley, Geoffrey, Joanne M. Miller, and Mark Snyder. 2010. “Adapting the Volunteer
  Functions Inventory to Measure Motives for Political Participation.” Poster presented at the
  annual meeting of the Society for Personality and Social Psychology, Las Vegas, NV.

          Strolovitch, Dara Z., Michael T. Heaney, Joanne M. Miller, and Seth E. Masket. 2010.
  “Gender Consciousness and Convention Delegates' Evaluations of Hillary Clinton and Sarah
  Palin.” Presented at the annual meeting of the Midwest Political Science Association, Chicago,
  IL.

          Miller, Joanne M., Dara Z. Strolovitch, Michael T. Heaney, and Seth E. Masket. 2010.
  “Profiles in Activism: A Comparison of Protesters and Delegates at the 2008 National Party
  Conventions.” Presented at the annual meeting of the Midwest Political Science Association,
  Chicago, IL.

         Miller, Joanne M. and Lawrence R. Jacobs. 2010. “Elections and Institutions: Ranked-
  Choice Voting and Its Attitudinal and Behavioral Effects.” Presented at the annual meeting of
  the American Political Science Association, Washington, D.C.

         Heaney, Michael T., Joanne M. Miller, Elizabeth Sharrow, Dara Z. Strolovitch, and Seth
  Masket. 2010. “Gender Consciousness and Convention Delegates' Evaluations of Hillary Clinton
  and Sarah Palin.” Presented at the annual meeting of the American Political Science Association,
  Washington, D.C.

         Miller, Joanne M. 2010. “Polling and the 2010 Election.” (invited). Presented at the
  annual meeting of the Minnesota Political Science Association, Minneapolis, MN.


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         Miller, Joanne M. and Sarah Treul. 2009. “Testing the Impact of Resources on the
  Individual-Level (In)stability of Political Participation Over Time.” Poster presented at the
  annual meeting of the American Political Science Association, Sept. 3-6, Toronto, Canada.
          Masket, Seth E., Michael T. Heaney, Joanne M. Miller, and Dara Z. Strolovitch. 2009.
  "Networking the Parties: A Comparison of Democratic and Republican National Convention
  Delegates in 2008" Paper presented at the annual meeting of the American Political Science
  Association, Sept. 3-6, Toronto, Canada. Recipient, Best Paper Award, awarded in 2010 for the
  best paper delivered on a Political Organizations and Parties-sponsored panel at the 2009 APSA
  annual meeting.

         Heaney, Michael T., Seth Masket, Joanne M. Miller, and Dara Z. Strolovitch. 2009.
  “Networking the Parties.” Paper presented at the State of the Parties conference, October 15-16,
  Akron, Ohio.

         Miller, Joanne M. 2009. “Mediators of Agenda-Setting.” 2009. Paper presented at the
  annual meeting of the Association for Educators in Journalism and Mass Communication,
  Boston, MA.

         Miller, Joanne M. and Mark Snyder. 2009. “Using the Volunteer Functions Inventory to
  Measure Motives for Political Participation.” Presented at the annual meeting of the International
  Society of Political Psychology, Dublin, Ireland.

         Heaney, Michael T., Seth Masket, Joanne M. Miller, and Dara Z. Strolovitch. 2009.
  “Healing the Rift? Social Networks and Reconciliation between Obama and Clinton Convention
  Delegates in 2008.” Paper presented at the Harvard Political Networks Conference, Harvard
  University, MA.

         Heaney, Michael T., Seth Masket, Joanne M. Miller, and Dara Z. Strolovitch. 2009.
  “Healing the Rift? Social Networks and Reconciliation between Obama and Clinton Convention
  Delegates in 2008.” Presented at the Midwest Political Science Association meeting,Chicago, IL.

          Miller, Joanne M. and Mark Snyder. 2009. “Using the Volunteer Functions Inventory to
  Measure Motives for Political Participation.” Presented at the annual meeting of the Midwest
  Political Science Association, Chicago, IL.

          Miller, Joanne M., Dara Z. Strolovitch, Michael T. Heaney, and Seth Masket. 2009. “A
  Tale of Two Cities: Protesters and Observers at the 2008 National Party Conventions.” Presented
  at the annual meeting of the Midwest Political Science Association, Chicago, IL.

         Miller, Joanne M. 2008. “Polling and the 2008 Election.” (invited). Presented at the
  annual meeting of the Minnesota Political Science Association, Minneapolis, MN.




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         Miller, Joanne M. 2008. “Why Do People Participate in Politics?” Presented at the annual
  meeting of the Midwest Political Science Association, Chicago, IL.

        Vecera, Vincent, Joanne M. Miller, and George E. Marcus. 2008. “Conceptualizing
  Motivation.” Presented at the annual meeting of the Midwest Political Science Association,
  Chicago, IL.

        Miller, Joanne M. 2006. “Elections and Polling.” Presented at the annual meeting of the
  Minnesota Political Science Association, St. Paul, MN.

         Miller, Joanne M. 2006. “What Motivates Political Participation: An Experimental Test.”
  Presented at the annual meeting of the Midwest Political Science Association, Chicago, IL.

          Miller, Joanne M., Lawrence Jacobs, Samuel J. Best, and Chase Harrison. 2005. “The
  Turnout We Make: Assessing the Predictive Validity of Measures of Likely Turnout.” Presented
  at the annual meeting of the American Association for Public Opinion Research, Miami, FL.

         Miller, Joanne M. 2005. “Why do Individuals Participate in Politics?” Presented at the
  annual meeting of the Midwest Political Science Association, Chicago, IL.

         Miller, Joanne M. 2004. “What Motivates Political Participation?” Presented at the
  annual meeting of the American Political Science Association, Chicago, IL.

          Adams, Dana Raye Buckley and Joanne M. Miller. 2004. "Does Media Sensationalism
  Affect Ability to Learn from News?” Presented at the annual meeting of the International Society
  of Political Psychology, Lund, Sweden.

         Miller, Joanne M. 2004. “Media Agenda-Setting: Does Content Matter?” Presented at the
  annual meeting of the Midwest Political Science Association, Chicago, IL.

         Wedeking, Justin P. and Joanne M. Miller. 2004. "Measuring Public Opinion: Examining
  the Impact of the Refusal Conversions and Callbacks on Data Quality.” Presented at the annual
  meeting of the Midwest Political Science Association, Chicago, IL.

         Miller, Joanne M. and Justin Wedeking. 2003. “The Impact of Refusal Conversions and
  Callbacks on Data Quality.” Presented at the annual meeting of the American Association for
  Public Opinion Research, Nashville, TN.

         Flanigan, William H., Joanne M. Miller, Jennifer L. Williams, and Nancy H. Zingale.
  2003. “The Television Campaign in the 2002 Minnesota Senate Race.” Presented at the annual
  meeting of the Western Political Science Association, Denver, CO.

         Peterson, David and Joanne M. Miller. 2003. “What is Attitude Strength? Theoretical
  and Empirical Implications of Various Measures of Attitude Strength.” Presented at the annual
  meeting of the Midwest Political Science Association, Chicago, IL.

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         Miller, Joanne M. and Jon A. Krosnick. 2003. “What Motivates Issue Public
  Membership? Distinguishing Between Personal and National Importance.” Presented at the
  annual meeting of the American Political Science Association, Philadelphia, PA.


          Miller, Joanne M. and Wendy Rahn. 2002. “Identity-Based Feelings, Beliefs and Actions:
  How Being Influences Doing.” Presented at the annual meeting of the International Society of
  Political Psychology, Berlin, Germany.

          Miller, Joanne M. and Amy K. Donahue. 2002. “Media Exposure and Citizen Attitudes
  about the Police.” Presented at the annual meeting of the Midwest Political Science Association,
  Chicago, IL.

         Miller, Joanne M. and Jon A. Krosnick. 2002. “Mediators and Moderators of News
  Media Agenda-Setting.” Presented at the annual meeting of the Midwest Political Science
  Association, Chicago, IL.

         Donahue, Amy K. and Joanne M. Miller. 2002. “The Media, Citizen Preferences, and
  Paying for Public Safety.” Presented at the annual meeting of the Association for Budgeting and
  Financial Management, Washington, D.C.

         Miller, Joanne M. and Jon A. Krosnick. 2001. “What Motivates Political Cognition and
   Behavior?” Presented at the annual meeting of the Midwest Political Science Association,
   Chicago, IL.

        Donahue, Amy K. and Joanne M. Miller. 2001. “Help! Call 911: Experience, Attitudes,
  and Willingness to Pay for Police and Fire Protection.” Presented at the annual meeting of the
  Western Social Science Association, Reno, Nevada.

          Krosnick, Jon A. and Joanne M. Miller. 2000. “Attitude Change Outside the Laboratory:
   News Media "Priming" Turns Out Not to be Priming After All.” Presented at the annual
   meeting of the Society of Experimental Social Psychology, Atlanta, GA.

         Miller, Joanne M. and Jon A. Krosnick. 1999. “The Impact of Threats and Opportunities
  on Political Participation.” Presented at the annual meeting of the Midwest Political Science
  Association, Chicago, IL.

          Neuman, W. Russell, Michael B. MacKuen, George F. Marcus, and Joanne M. Miller.
  1997. “Affective Choice and Rational Choice.” Presented at the annual meeting of the American
  Political Science Association, Washington, D.C.




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         Miller, Joanne M., Jennifer L. Welbourne, and Robert M. Arkin. 1997. “The
  Phenomenology of Overachievement: Effects of Type and Nature of Feedback.” Presented at the
  annual meeting of the American Psychological Society, Washington, D.C.

         Miller, Joanne M. and Jon A. Krosnick. 1997. “The Impact of Policy Change Threat on
  Issue Public Membership.” Presented at the annual meeting of the Midwest Political Science
  Association, Chicago, IL.

          Miller, Joanne M. and Jon A. Krosnick. 1996. “Can Issue Public Membership be
  Triggered by the Threat of a Policy Change?” Presented at the annual meeting of the
  International Society of Political Psychology, Vancouver, British Columbia.

          Miller, Joanne M. and Jon A. Krosnick. 1996. “The Roles of Personal Importance and
  National Importance in Motivating Issue Public Membership.” Presented at the annual meeting
  of the Midwestern Political Science Association, Chicago, IL.

         Welbourne, Jennifer L., Joanne M. Miller, and Robert M. Arkin. 1995. “The
  Phenomenology and Behavioral Outcomes of Overachievement.” Presented at the annual
  meeting of the American Psychological Society, New York, NY.

          Miller, Joanne M. and Jon A. Krosnick. 1995. “Mediators and Moderators of News
  Media Priming: It Ain't Accessibility, Folks.” Presented at the annual meeting of the
  International Society of Political Psychology, Washington, D.C.

          Miller, Joanne M., Leandre Fabrigar, and Jon A. Krosnick. 1995. “Contrasting Attitude
  Importance and Collective Issue Importance: Attitude Properties and Consequences.” Presented
  at the annual meeting of the Midwestern Psychological Association, Chicago, IL.

        Miller, Joanne M. and Jon A. Krosnick. 1995. “Ballot Order Effects on Election
  Outcomes.” Presented at the annual meeting of the Midwestern Political Science Association,
  Chicago, IL.

          Miller, Joanne M. and Jon A. Krosnick. 1994. “Does Accessibility Mediate Agenda-
  setting and Priming?” Presented at the annual meeting of the Midwestern Psychological
  Association, Chicago, IL.

         Miller, Joanne M. and Jon A. Krosnick. 1993. “The Effects of Candidate Ballot Order on
  Election Outcomes.” Presented at the annual meeting of the Midwestern Psychological
  Association, Chicago, IL.




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  Media Coverage of my Research

  Media coverage of my conspiracy theory research:

         Washington Post, Huffington Post, Vox, City Pages, The Atlantic, Salon, The New York
         Times, National Public Radio, Minnesota Public Radio, The LA Times, New Scientist

  Media coverage and media appearances regarding my conspiracy theory research:

         Fox 32 Chicago, Good Day Chicago, Live television interview; May 27; 2020.

         https://www.huffpost.com/entry/psychology-why-people-believe-coronavirus-
         conspiracy-theories_l_5ec46c59c5b6956f4169cea4

         https://www.pix11.com/news/coronavirus/beware-of-covid-19-conspiracy-theories

         Global News Radio 980 CFPL in London, ON, Canada. Live radio interview; April 30,
         2020.

         http://www.downtownwithrichkimball.com/2020/05/13/dr-joanne-miller-5-13-20/

         https://www.businessinsider.sg/how-to-push-back-when-your-family-talks-conspiracy-
         theories-2020-5


         https://www.salon.com/2020/05/12/why-some-conspiracy-theorists-believe-bill-gates-is-
         behind-the-coronavirus/

         https://www.vox.com/2020/4/28/21231869/coronavirus-anxiety-politics-partisanship-
         research
         https://www.usnews.com/news/health-news/articles/2020-04-23/coronavirus-conspiracy-
         theories-abound-and-they-could-cause-real-harm

         NewsThink Podcast, Why People Believe Conspiracy Theories, May 2 2020

         Radio FM4 Reality Check Podcast, Feb. 11, 2020 https://fm4.orf.at/stories/2998525/

         Direction Democracy Podcast Guest Host (Delaware Public Radio; October 25, 2019):
         https://www.delawarepublic.org/post/direction-democracy-podcast-navigating-political-
         conspiracy-theories




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        Lovett or Leave It Podcast, April 14, 2018    https://crooked.com/podcast/shooting-star-
        stupid/

        https://www.washingtonpost.com/news/wonk/wp/2015/12/08/why-smart-people-believe-
        all-the-crazy-things-trump-says/

        http://www.huffingtonpost.com/entry/conspiracy-theorists-
        politics_565e0c14e4b072e9d1c3b2e9?a8zlrf6r

        http://www.vox.com/2015/12/10/9886222/conspiracy-theories-right-wing

        http://www.citypages.com/news/why-well-read-conservatives-fall-for-conspiracy-
        theories-7894425

        https://www.washingtonpost.com/news/wonk/wp/2016/01/15/donald-trump-has-a-brand-
        new-conspiracy-theory/?postshare=9301452877627662&tid=ss_fb-bottom

        https://www.washingtonpost.com/news/wonk/wp/2016/01/08/why-so-many-americans-
        think-the-government-wants-their-guns/

        http://www.theatlantic.com/politics/archive/2016/02/the-limits-of-donald-trumps-
        accusations/459783/

        http://www.salon.com/2016/03/19/conspiracy_theories_are_for_losers_science_explains_
        why_conservatives_see_sneaky_cabals_in_every_defeat/

        http://www.nytimes.com/2016/05/19/upshot/donald-trump-and-conspiracy-theories-what-
        a-poll-in-2011-signaled.html

        http://www.npr.org/2016/09/03/492241250/the-clinton-health-rumors-arent-going-away-
        anytime-soon-heres-
        why?utm_campaign=storyshare&utm_source=twitter.com&utm_medium=social

        https://www.mprnews.org/story/2016/09/03/clinton-health-conspiracy

        http://www.huffingtonpost.com/entry/donald-trump-birther-
        poll_us_57e12c21e4b04a1497b68044
        http://www.latimes.com/science/sciencenow/la-sci-sn-trump-conspiracy-theories-
        20161103-story.html

        http://journalistsresource.org/studies/politics/polarization/conspiracy-theories-
        conservatives-liberals-knowledge-trust


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         https://www.newscientist.com/article/mg23231020-500-changing-minds-how-to-trump-
         delusion-and-restore-the-power-of-facts/

         https://www.nytimes.com/2017/02/15/upshot/why-more-democrats-are-now-embracing-
         conspiracy-theories.html?smid=fb-share

         https://www.washingtonpost.com/posteverything/wp/2017/03/07/democracy-requires-
         trust-but-trump-is-making-us-all-into-conspiracy-theorists/?tid=ss_tw-
         bottom&utm_term=.f60fdc967164

         https://www.washingtonpost.com/news/posteverything/wp/2018/05/15/theorizing-about-
         the-trump-administration-has-become-our-national-pastime/?utm_term=.b717b12c9376

         https://psmag.com/news/how-to-tackle-conspiracy-theories-in-politics

         https://www.theguardian.com/us-news/2018/aug/14/conspiracy-theories-misconceptions-
         rampant-politics

         https://m.youtube.com/watch?v=v1iD1ypnsWo (Huffington Post, Between the Lines)

         https://www.usatoday.com/story/news/politics/2018/11/15/donald-trump-pushes-
         conspiracy-theories-florida-recount/1991767002/

  Media coverage of previous research:
        Associated Press, Washington Post, USA Today, LA Times, Star Tribune, Pioneer Press,
        Milwaukee Journal Sentinel, Minnesota Public Radio, Inside Higher Education

  Court Cases Citing my Research

  Jacboson v. Lee (2019), 4:18cv262-MW/CAS (US District Court Northern District of Florida
         Tallahasee Division
  Akins v. Secretary of State, 904 A.2d 702 (N.H. 2006)
  Bradley v. Perrodin (2003) 106 Cal. App. 4th 1153


  TEACHING

  Graduate Courses

  Political Psychology and Socialization
  Survey Research Methods
  Proseminar in Political Psychology
  Questionnaire Design (7-week course)

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  Survey Sampling Methods (7-week course)

  Graduate Advising

  Comprehensive Exam Committee member, University of Minnesota: Wen Bu (Psychology),
  Christina Farhart, Brianna Smith, Emily Baer-Bositis, Amanda Bryan, Maron Sorenson, Phil
  Chen, Justin Holmes, Monica Schneider, Angela Bos, Jon Peterson, Melanie Burns, Justin
  Wedeking, Dominique Walsh, Chris Galdieri, Dana Adams, Matt Cravens, Caitlin Dwyer,
  Geoffrey Sheagley, Emily Fisher (Psychology), Grace Deason (Psychology), Chris Miller
  (Psychology), Neil Bendle (Business Administration)

  Dissertation Advisor, University of Minnesota: CURRENT: Penny Thomas (Political Science).
  PAST: Jennifer Halen (Political Science), Michelle Chen (co-advisor, School of Journalism and
  Mass Communication), Matt Motta (Political Science), Christina Farhart (Political Science),
  Elizabeth Householder ((co-advisor) School of Journalism and Mass Communication), Geoffrey
  Sheagley (Political Science), Matt Cravens ((co-advisor) Political Science), Kjersten Nelson
  ((co-advisor), Political Science)

  Dissertation Committee member, University of Delaware: CURRENT: Anna Nuzzolese
  (Political Science).

  Dissertation Committee member, University of Minnesota: CURRENT: Wen Bu (Psychology,
  UMN). PAST: Pierce Ekstrom (Psychology UMN), Brianna Smith (Political Science UMN),
  Amanda Bryan (Political Science UMN), Maron Sorenson (Political Science UMN), Phil Chen
  (Political Science UMN), Justin Holmes (Political Science UMN), Chris Galdieiri (Political
  Science UMN), Justin Wedeking (Political Science UMN), Angela Bos (Political Science
  UMN), Jon Peterson (Political Science UMN), Eve Ringsmuth (Political Science UMN),
  Melanie Burns (Political Science UMN), David Lake (Psychology UMN), Neil Bendle (Business
  Administration UMN), Emily Fisher (Psychology UMN), Grace Deason (Psychology UMN),
  Chris Miller (Psychology UMN)

  Masters Committee member, University of Minnesota: Moira Fredrickson (Mass
  Communication UMN), Holiday Shapiro (Political Science UMN), Margaret Kunde
  (Communication Studies UMN), Caitlin Massert (Mass Communication UMN)




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  Undergraduate Courses

  Politics and the Media
  Conspiracies, Rumors, and Misinformation
  Political Persuasion and Propaganda
  Public Opinion
  Political Psychology of Mass Behavior
  Quantitative Analysis in Political Science

  Undergraduate Advising
  List of senior paper, honors theses, and independent research advising available upon request.

  SERVICE

  Service to the Discipline

  Elected/Appointed Office, Professional Organizations

  Vice President (Publications), International Society of Political Psychology, 2020-2023

  Chair, Nominations Committee, Midwest Political Science Association, 2019-2020

  Pre-Conference Organizer, APSA Political Psychology Section, 2019-2020 (elected)

  Co-Organizer, APSA Political Psychology Pre-conference, 2017-2019

  Program Section Chair, Public Opinion, for the 2016 Annual Meeting of the American Political
  Science Association

  Program Co-Director, 2014 Annual Meeting of the International Society of Political Psychology

  Ad Hoc Committee on Governance, American Political Science Association, 2013-2016

  Governing Council Member, American Political Science Association, 2012-2014 (appointed)

  Governing Council Member, International Society of Political Psychology, 2011-2014 (elected)

  Annual Meeting Section Chair, Political Decision Making, for the 2010 Annual Meeting of the
  International Society of Political Psychology (co-chair with Chris Federico and Paul Goren)




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  Editorial Positions

  Associate Principal Investigator, Time-Sharing Experiments for the Social Sciences (TESS),
         (2009–2019).

  Editorial Board, Political Science Research and Methods

  Editorial Board, Social Sciences Quarterly

  Editorial Board, Advances in Political Psychology (term ended Dec. 2018)

  Editorial Board, Political Behavior (Jan. 2015 – Dec. 2018)

  Editorial Board, PS: Political Science & Politics (Jan. 2016 –Dec. 2018)


  Organized Symposia and Conferences

  American Political Science Association Political Psychology Pre-Conference, 2019 (co-
  organizing with Cara Wong and Dan Hopkins and sponsored by the APSA Political Psychology
  section)

  American Political Science Association Political Psychology Pre-Conference, 2018 (co-
  organizing with Cara Wong and Leonie Huddy and sponsored by the APSA Political Psychology
  section and the International Society of Political Psychology)

  American Political Science Association Political Psychology Pre-Conference, 2017 (co-
  organized with Cara Wong and Leonie Huddy and sponsored by the APSA Political Psychology
  section and the International Society of Political Psychology)

  The Political Psychology of the 2016 Election (2016, co-organized with Paul Goren and
  sponsored by the Center for the Study of Political Psychology, University of Minnesota)

  The Political Psychology of Protest and Collective Action (2012, co-organized with Christopher
  Federico and sponsored by the Center for the Study of Political Psychology, University of
  Minnesota)

  The Psychology of Political Misinformation (2011, co-organized with Christopher Federico and
  sponsored by the Center for the Study of Political Psychology, University of Minnesota).

  Second Minnesota Symposium on Political Psychology, Campaigns and Elections (2002; co-
  organized with Jamie Druckman)




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  Advisory Panel and Conference Committees

  National Science Foundation Political Science Advisory Panel, Political Science Directorate,
  2009-2011

  National Science Foundation Advisory Panel, Integrative Graduate Education and Research
  Traineeship (IGERT) program, June 2010

  American Association for Public Opinion Research (2002-2007)

  Prize Committees

  The Westview Press Award for the best paper by delivered by a graduate student at the 2013
  Annual Meeting of the Midwest Political Science Association.

  Best Political Psychology paper presented at the 2011 Annual Meeting of the American Political
  Science Association

  The Robert E. Lane Award for the best book in political psychology published in 2008

  Best Political Psychology paper presented at the 2007 Annual Meeting of the American Political
  Science Association

  Reviewer

  Princeton University Press, American Political Science Review, American Journal of Political
  Science, Journal of Politics, Political Behavior, British Journal of Political Science, Public
  Opinion Quarterly, Perspectives on Politics, National Science Foundation, TESS (Time-Sharing
  Experiments in the Social Sciences), Legislative Studies Quarterly, Mass Communication and
  Society Political Psychology, American Politics Quarterly, Research and Politics, Political
  Science Research and Methods, Psychological Bulletin, Psychological Science, Personality and
  Social Psychology Bulletin, Basic and Applied Social Psychology, Climatic Change, Social
  Sciences Quarterly, Political Communication, British Journal of Social Psychology

  Professional Affiliations

  American Political Science Association; Midwest Political Science Association; International
  Society of Political Psychology




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  Service to the University of Delaware

  Director of Admissions, Department of Political Science & International Relations (2019-2020)

  Executive Committee, Department of Political Science & International Relations (2019-2020)

  Planning Committee, Department of Political Science & International Relations (2019-2020)

  Admissions Committee, Department of Political Science & International Relations (2019)

  Service to the University of Minnesota

  Director of the Center for the Study of Political Psychology (2011-2014)

  Advisory Board Member, Center for the Study of Political Psychology (2001-2018)

  Director of Graduate Studies, Department of Political Science (2007-2010)

  Director of Graduate Studies, Interdisciplinary Ph.D. Minor in Political Psychology (2005-2008)

  Admissions Director, Department of Political Science (2011-2012)

  Department Placement Director (2016-2018)

  American Politics Field Chair (2004-2006, 2013-2016)

  Graduate Work Committee (2004-2005, 2013-2014, 2016-2017)

  Department of Political Science Job Search Committee (2002-2003, 2009-2010, 2014-2015)

  Research Mentor, College of Liberal Arts Minority Student Research Opportunities Program
  Summer 2013, Lulete Mola)

  Research Mentor, Advanced Research Program (for Christina Raymond, Plainedge High School,
  North Massapequa, NY; (2010, full year)

  Research Mentor, College of Liberal Arts Freshman Research Award Program (Spring 2012,
  Joshua Quinn; Spring 2009, Michael Berger)

  Elected to the College of Liberal Arts Assembly (2011-2013)

  Appointed to the Curriculum, Instruction, and Advising Committee of the College of Liberal
  Arts Assembly (2011-2013)



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  Planning Committee Member for Spring 2012 Graduate and Professional Education Assembly
  on Graduate Advising (2012)

  Department Representative, Graduate School’s Ph.D. Completion Project (2007-2010)

  Member, Graduate School’s Social Science P&R Council Subcommittee (Course and Program
          Review; 2009-2010)

  College of Liberal Arts Course Review Committee (2003-2005)

  College of Liberal Arts Advisory Committee for the Undergraduate Research Opportunities
           Program (2006-2007)

  Network of Interdisciplinary Initiatives, member of Interdisciplinary Research Centers Working
          Group (2008-2010)




                                                                      Last revised: June 20, 2020




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